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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MARYLAND
                                  –Greenbelt Division–

KILMAR ARMANDO ABREGO GARCIA,
ET AL.,

                       Plaintiffs,
                                                       Case No.: 8:25-CV-00951-PX
v.

KRISTI NOEM, ET AL.,

                       Defendants.


                      PLAINTIFFS’ OPPOSITION TO DEFENDANTS’
                           MOTION TO MODIFY SCHEDULE

       At 6:43 p.m. yesterday, the United States Supreme Court issued an order finding that this

Court “properly require[d] the Government to ‘facilitate’ Abrego Garcia’s release from custody in

El Salvador and to ensure that his case is handled as it would have been had he not been improperly

sent to El Salvador.” Noem et al. v. Abrego Garcia et al., 604 U.S. ____ (2025), slip op. at 2. The

Court further ordered the Government to “be prepared to share what it can concerning the steps it

has taken and the prospect of further steps.” Id.

       Last night, this Court ordered the Government to file, no later than 9:30 a.m. today, a

declaration from an individual with personal knowledge, “addressing the following: (1) the current

physical location and custodial status of Abrego Garcia; (2) what steps, if any, Defendants have

taken to facilitate Abrego Garcia’s immediate return to the United States; and (3) what additional

steps Defendants will take, and when, to facilitate his return.” Dkt. 51.

       This Court’s order to facilitate Abrego Garcia’s return was issued one week ago. It was

not stayed until Monday afternoon. Accordingly, the Government should have been taking actions

Friday, Saturday, Sunday, and Monday morning, and the Government can report on those. The
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Supreme Court lifted the stay yesterday evening. Accordingly, the Government should have been

taking actions last night and this morning, and it can report on those. The Government should

likewise be in a position to tell the Court in general terms what its further plan is to facilitate Mr.

Abrego Garcia’s return, and who in the Government is responsible for implementing that plan.

       Instead, the Government continues to delay, obfuscate, and flout court orders, while a

man’s life and safety is at risk. Its request for an extension—filed this morning in defiance of the

Court’s rules requiring consultation with Plaintiffs’ counsel—is another stunning display of

arrogance and cruelty. It did not take that time to ponder whether to remove Garcia—which it

effectuated within 72 hours of his unlawful seizure—and it does not need that time to comply with

this Court’s and the Supreme Court’s rulings. We vigorously oppose the Government’s motion,

and we further request that the Government immediately report on Mr. Abrego Garcia’s safety and

well being. We will attend the scheduled hearing at 1 p.m.

Dated: April 11, 2025                                 QUINN EMANUEL URQUHART &
                                                      SULLIVAN, LLP


                                                 By: /s/ Jonathan G. Cooper
MURRAY OSORIO PLLC                                  QUINN EMANUEL URQUHART &
Simon Y. Sandoval-Moshenberg                         SULLIVAN, LLP
4103 Chain Bridge Road, Suite 300                   Jonathan G. Cooper, (D. Md. Bar No. 21345)
Fairfax, Virginia 22030                             1300 I Street NW, Suite 900
(703) 352-2399                                      Washington, DC 20005
ssandoval@murrayosorio.com                          Tel. No.: 202-538-8000
                                                    Fax No.: 202-538-8100
                                                    jonathancooper@quinnemanuel.com

                                                      Counsel for Kilmar Armando Abrego Garcia,
                                                         Jennifer Stefania Vasquez Sura, and A.
                                                         A.V., a minor, by and through his next
                                                         friend and mother, Jennifer Vasquez Sura.




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